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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-756V
                                       Filed: October 3, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
KIM M. WIDES,                 *
                              *
                              *                               Special Master Dorsey
           Petitioner,        *
                              *
v.                            *                               Joint Stipulation on Damages;
                              *                               Tetanus, Diphtheria and Acellular
SECRETARY OF HEALTH           *                               Pertussis (Tdap) vaccine; Measles,
AND HUMAN SERVICES,           *                               Mumps, and Rubella ("MMR")
                              *                               vaccine; demyelinating
           Respondent.        *                               polyneuropathy
* * * * * * * * * * * * * * * *

Isaiah Richard Kalinowski, Maglio, Christopher & Toale, PA, Washington, DC, petitioner.
Gordon Elliot Shemin, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On September 27, 2013, Kimberly Wides (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that on September 10, 2012, she was administered the Adacel (Tetanus,
Diphtheria and Acellular Pertussis (TDaP)) vaccination in her left deltoid, and the first (of two),
Measles, Mumps, and Rubella (MMR) vaccinations in her right deltoid. On October 10, 2012,
petitioner was administered the second MMR vaccination in her left deltoid. All three
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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vaccinations were administered in Columbia Falls (Flathead County), Montana. Petitioner
alleges that as a result of these vaccines, she suffers from vaccine-related demyelinating
polyneuropathy and its sequelae. Petitioner further alleged that she experienced the residual
effects of these injuries for more than six months.

       On October 2, 2014, the parties filed a stipulation, stating that a decision should be
entered awarding compensation.

       Respondent denies that the vaccines are the cause of petitioner's alleged demyelinating
polyneuropathy, or any other injury. Nevertheless, the parties agree to the joint stipulation,
attached hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulated that petitioner shall receive the following compensation:

       A lump sum of $225,000.00, in the form of a check payable to petitioner. This
       amount represents compensation for all damages that would be available under 42
       U.S.C.§300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                              s/ Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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